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INDIANA VEHICLE RETAIL INSTALLMENT CONTRACT                                                                                 DATE         1112812014

Buyer (and Co-Buyer) Name and Address (lncluding County and Zip SELLERl/CREDITOR (Seller Name and Address)
Code)                                                           ANDY MOHR FORD INC,
 STEVE R PFEIFER                                                                2713 EAST MAIN STREET
                                                                                PLAINFIELD. IN 46168
 1,I649 SOLOMONS CT
 Fishers, lN 46037 HAMILTON
 N/A




You, the Buyer (and Co-Buyer, if any), may buy the vehicle described in this contract for cash or on credit. The cash price is shown on
Page 2 as "Cash Price." The credit price is shown below as "Total Sale Price." By signing this contract, you choose to buy the vehicle
on credit under the agreements in this contract.


    ANNUAL                    FINANCE               Amount                       Total of                    Total Sale
  PERCENTAGE                  CHARGE                Financed                    Payments                       Price
     RATE                   The dollar amount       The amount of                The amount                The total cost
                              the credit will       credit provided              you will have                 of your
     The cost of your
                                cost you             to you or on               paid when you            purchase on credit,
  credit as a yearly rate                             your behalf               have made all              including your
                                                                                  scheduled                   downpayment
                                                                                  payments
                                                                                                         of   g         0.00           1-800-727-7000

         6.90       %                               a                           $     36,878.40          $        36,878.40
                                                                                                                                                I rtHn tnEorr


 Vour Payment Sctre¿u
     Number of Payments        Amount of Payments        When Payments are Due                                                       www.fordcredit.com
                                                          E   Monthly    I     Seml'Annually      E   Annually
               72                     $ 512.20          Startinq: 0111212015




 Prepayment: lf you pay off your debt early, you will not have to pay a penalty.
 Late Payment: You must pay a late charge on the portion of each payment received more than 10 days late,
 The charge is $18.50
 Security lnterest: You are giving a security interest in the vehicle being purchased.
 Contract: Please see th¡s contract for additional information on security interest, nonpayment, default, the right
 to require repayment of your debt in full before the scheduled date, and prepayment penalty,
 COMMERCIAL USE LATE CHARGE PAYMENT: f you purchased the veh c e for commerc a use you must pay                     a   ate charge on the poÉ on of each
 payment received more than 10 days late of 7 5% of the late amount or $50.00, whichever is less.




 !     Your last installment payment under this contract is a balloon payment.

 EXCESS WEAR, USE AND MILEAGE CHARGES
 lf the box directly above is checked, this section, Paragraph B, and Paragraph C of this contract apply. You may be charged for
 excessive wear based upon our standards for normal use. lf you exercise the option to sell the vehicle back to Creditor under
 Paragraph B, you must pay the Creditor $0.      N/A per mile for each mile in excess of         N/A      miles shown on the
 odometer.



 The Annual Percentage Rate may be negot¡ated with the Seller. The Seller may assign this
 contract and may reta¡n its right to receive a port¡on of the Finance Charge.



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  New/Used          Mileage               Year and Make                      Model             Vehicle ldentifi cation Number Use ForWhich Purchased
                                                                                                                                E      Personal
       New               10                 201 5 Ford                      Escape                 1   FMCUOF7OFUA76191         E      Agricultural
                                                                                                                                E      Commercial


              Trade-in                   2009    Mercedes-Benz                   $
                                                                                        9.000.00          $     18.025.62
                                           Year and Make                             Gross   Allowance        Amount Owing




  1. Cash Price                                                                                                             $         2s,278.00 (1)

  2. Down Payment
       Third ParU Rebate Assigned to Creditor                                                                        $run
       Cash Down Payment.                                                                                            $ e,ooo.oo
       Manuf. Rebate                                                                                                 $          soo.oo

       Trade-in (description above)......,,....                                                                      $      -s,02s.62
                                                                                                                            $                0.00 (2)
        Total Down Payment,,.
                                                                                                                            $         25.278.00 (3)
  3. Unpaid Balance of Cash Price (1 minus 2)
  4. Amounts paid on your behalf (Seller may be retaining a portion of these amounts)
       To Public Officials
         (i) for license, title & registration fees $            41.25

         lii) for filino fees $             N/A:
         (iii) for taxes (not in Cash Price) $           1.123.78                                                    $       1 ,1   65.03

       To lnsurance Companies for:
                                                                                                                     $                N/A

                                                                                                                     $                N/A
       Credit Disability Insurance
       N/A                                                                                                           $                N/A
       N/A                                                                                                           $                N/A

                                                           for Net Trade-ln Payoff                                   $          525.62
       IO GATEWAY ONE
                                                           for GAP Waiver                                            $          506.00
       To SAFEGUARD GAP
                                                           for Documentary Fee                                       $              75.00
       To ANDY MOHR FORD INC.
       To Century Automotive Service Cor                   for Serv¡ce Contract                                      $       2,500.00
                                                                                                                     $                N/A
       To N/A                                              for N/A
                                                           for N/A                                                   $                N/A
       To N/A
                                                                                                                                      N/A
       fs    N/A                                           fe¡   N/A                                                 $
                                                                                                                     $               N/A
       lo N/A                                              for N/A
                                                           for N/A                                                   $               N/A
       To N/A
                                                                                                                            $          4.771.65       (41

                                                                                                                            $          30,049.65 (5)
  5.   Amount Financed (3 plus 4).....,.



   Debt Cancellation Waiver Addendum (Optional)
  purchase of the debt cancellation waiver is'opiionat añd is not required to obtain credit. The terms and conditions of the debt
  cancellation waiver are set forth in the attached Addendum which is incorporated into this contract. By signing below you agree to
  purchase the debt cancellalion waiver for the price set forth on this contract in the ltemization of Amount Financed under section 4.



  A tilrt
       Buyer Signs



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  YOU ARE REQUIRED TO INSURE THE VEHICLE. YOU MAY OBTAIN VEHICLE INSURANCE FROM A PERSON
  OF YOUR CHOICE. LIABILITY INSURANCE COVERAGE FOR BODILY INJURY AND PROPERTY DAMAGE
  CAUSED TO OTHERS IS NOT INCLUDED. CREDIT LIFE, CREDIT DISABILITY AND OTHER OPTIONAL
  INSURANCE ARE NOT REQUIRED TO OBTAIN CREDTT AND WILL NOT BE PROVIDED UNLESS YOU SIGN AND
  AGREE TO PAY THE PREMIUM.



   Credit Life                               N/A                       $          N/A                           N/A

                                  lnsurance Company                         Premium                        lnsured(s)
                             You want Credit Life lnsurance.


                             B                     N/A                                   B                N/A
                             Buyer Signs                                                 Co-Buyer Signs



   Credit
   Disability                                N/A                        $         N/A                           N/A

                                  lnsurance Company                         Premium                        lnsured(s)
                             You want Credit Disability lnsurance.


                             c                     N/A                                   c                N/A
                             Buyer Signs                                                 Co-Buyer Signs


   Other                         Coverage                    lnsurance Company                         Premium          Term in Months
   Optional
                                     N/A                                 N/A                              N/A                N/A
   lnsurance
                                     N/A                                 N/A                              N/A                N/A


                             You want the optional insurance for which premiums are included above.



                                                    N/A                                                    N/A
                             Buyer Signs                                                 Co-Buyer Signs


        Credit Life and Gredit Disability insurance are for the term of the contract. The amount and coverages
        are shown in a notice or agreement given to you today,



 Anti-Theft Product (Optional)
 The purchase of anti-theft product(s) is optional and not required to obtain credit, even if the product(s) is already installed on the
 vehicle you selected. You may purchase anti-theft product(s) from the person of your choice. By signing below, you agree to
 purchase the anti-theft product(s) at the price disclosed.


                       N/A                                    N/A                 Term           N/A

                       N/A                      s             N/A                                N/A

                                                              N/A                 Term

  D
      Buyer Signs


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         A. Payments: You must make all payments in U.S, funds when they are due. You may prepay your debt at any time without
         penalty. This is a s¡mple f¡nance charge contract, The actual flnance charge you agree to pay will depend on your payment patterns,
         The actual finance charge may exceed the disclosed Finance Charge if you make your payments later than the scheduled dates or in
         less than the scheduled amount. Your payment will be applied f¡rst to the earned and unpaid part of the Finance Charge and then to
         the unpaid Amount Financed. The Finance Charge is earned by applying the Annual Percentage Rate to the unpaid Amount
        Financed for the actual time that the unpaid Amount Financed is outstanding.
        B. Balloon Payment Contracts: lf your last installment payment under this contract is a balloon payment, you may handle the last
        installment payment in one of three ways,
        First, you may pay all that you owe when the last installment payment is due and keep your motor vehicle.
        Second, you may refinance the last installment payment unless you are in default under this contract. lf the Creditor has advanced
        funds to cure any default, you must pay back the Creditor before the refinancing. You also must provide proof of insurance
        acceptable to Creditor before the refinancing. The Annual Percentage Rate (APR) for the reflnancing will be the lower of the APR
        contained in this contract or the maximum APR permitted by law. The term of the refinancing will be based on the amount refinanced,
        the rate, and the amount of the monthly payment. The refinanced monthly payment shall be the same as in this contract. lf you wish
        to refinance, you must notify the Creditor in writing, Except as discussed in this section, the notice must be rece¡ved no later than 30
i'      days prior to the due date of the last installment payment.
        Third, you may sell the vehicle to the Creditor for an amount equal to the last installment payment. You must pay to the Creditor any
 ;..,   other amount owed under this contract. Amounts you owe will be based, in part, on the vehicle's mileage. You also must pay to the
        Creditor the estimated costs of all repairs to the vehicle that are the result of excess wear and use, as set forth below. You must take
 '1:    the vehicle to a place selected by the Creditor for inspection no later than 15 days prior to the last installment payment due date.
        After the inspection, if you decide to sell the vehicle to the Creditor, you must give the vehicle to the Creditor no later than the last
        installment payment due date. At that time, you must also give the Creditor a title, which shows no liens other than the Creditor's lien,
..,.,   transferring ownership to the Creditor or a person selected by the Creditor. After the inspection, if you decide not to sell the vehicle to
 ':     the Creditor, you must immediately contact the Creditor and inform the Creditor whether you want to refinance the last installment
        payment.

i,.:
        C. Damage Repair: lf your last installment payment under this contract is a balloon payment and you sell the vehicle bâck to the
        Creditor under Paragraph B, you are responsible for repairs of all damage to the vehicle that are not the result of normal wear and
'1      use. These repairs include, but are not limited to, those necessary to:
         (i)   replace any tire not part of a matching set of four or any tire which has less than 1/8 inch of remaining tread;
 :.¡     (ii) repair all mechanical defects;
        (iii) repair or replace all dented, scratched, chipped, rusted or mismatched body panels, paint or vehicle identification items; all
'(.:          dented, scratched, rusted, pitted, broken or missing trim and grill work; all scratched, cracked, pitted or broken glass; all faulty
 :jì         window mechanisms; all broken or burned out lights; all electronic malfunctions; all interior rips, stains, bums or worn areas; and
 ,ï
-ì,:          all damage which would be covered by collision or comprehensive insurance whether or not such insurance is actually in force.
        lf you have not made the repairs before inspection of the vehicle under Paragraph B, you will owe the estimated costs of such repairs,
        even if the repairs are not made prior to your sale of the vehicle to the Creditor. lf you disagree with the estimated costs of repairs,
 1\:)   you may have the repairs made at your expense prior to your sale of the vehicle to the creditor.
        D. Security lnterest: You give the creditor a security interest in:
'l.i         1. The vehicle and all parts or other goods put on the vehicle;
'ir          2. All money or goods received for the vehicle; and
:;ìi         3, All insurance premiums and service contracts financed for you.
JI:
        This secures payment of all amounts you owe under this contract. lt also secures your other agreements in this contract.
 ii     E. Use of Vehicle - Warranties: You must take care of the vehicle and obey all laws in using it. You may not sell or rent the
 .:3
        vehicle, and you must keep it free from the claims of others, You will not use or permit the use of the vehicle outside of the United
        States, except for up to 30 days in Canada or Mexico, without the prior written consent of the Creditor. lf the vehicle is of a type
 t:)    normatty used for personal use and the Creditor, or the vehicle's manufacturer, extends a wr¡tten warranty or seryice
¡!      contract covering the vehicle within 90 days from the date of this contract, you get implied warrant¡es of merchantability and
íJ      fitness for a paÉicular purpose covering the vehicle. Otherwise, you understand and agree that there are no such implied
O
;l      warranties, except as otherwise provided by law.
        F. Vehicle lnsurance: You must insure the vehicle against loss or damage from collision, fire or theft. You must name Creditor as
 ()     the loss payee under the insurance policy. The Creditor must approve the type and amount of insurance. lf the vehicle is lost,
        damaged or destroyed, you must pay the Greditor what is still owed.
 rU     You agree that the Creditor can make a claim under the insurance policy. You authorize the insurance company to provide Creditor
 l)     any information Creditor believes necessary to make a claim. You must use insurance proceeds to repair the vehicle, unless the
 (l:
        damage to the vehicle is considered a total loss. lf the damage to the vehicle is considered a total loss, you must use the insurance
 r-ì    proceeds to pay what you owe the Creditor. lf your insurance on the vehicle doesn't pay all you owe, you must pay what is still owed.
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 G.   Returned lnsurance Premiums and Service Gontract Gharges: This contract may contain charges for insurance, seryice
 contracts, or other contracts. You agree that the Creditor can claim benefits under these contracts and unless prohibited by law,
 terminate them to obtain refunds of unearned charges to reduce what you owe. lf the Creditor gets a refund on insurance, service
 contracts, or other contracts, the Creditor will subtract it from what you owe. Once all amounts owed under this contract are paid, any
 remaining refunds will be paid to you.
  H. Returned Check Charge: You agree to pay a returned check charge of $25.00 for each check, draft, or other order of payment
 that is dishonored for any reason.
  l. Default: You will be in default if:
      1. You do not make a payment when it is due; or
      2. You gave false or misleading information on your credit application relating to this contract; or
      3. Your vehicle is seized by any local, state, or federal authority and is not promptly and unconditionally returned to you; or           l,:.
      4. You file a bankruptcy petition or one is filed against you; or                                                                          t;
      5. You do not keep any other promise in this contract.                                                                                            I

  lf you default, Creditor can exercise Creditor's rights under this contract and Creditor's other rights under the law.
 J. Repossession: lf you default, the Creditor may require you to pay at once the unpaid Amount Financed, the earned and unpaid
 part of the Finance Charge and all other amounts due under this contract. Creditor may repossess (take back) the vehicle, too.
 Creditor may also take goods found in the vehicle when repossessed and hold them for you.                                                      i:l
                                                                                                                                                 I'i
  K. Your Right To Redeem: lf the vehicle is taken back, Creditor will send you a notice. The notice will say that you may redeem
                                                                                                                                                 ,ll
 (buy back) the vehicle and will explain how to redeem the vehicle. You may redeem the vehicle up to the time the Creditor sells it or           fi:.
 agrees to sell it. lf you do not redeem the vehicle, it will be sold.
                                                                                                                                                .l
 L. Disposition of Motor Vehicle: lf the vehicle is taken back and sold, the money from the sale, less allowed expenses, will be                 'ìì
 used to pay the amount still owed on the contract, Allowed expenses include those paid as a direct result of having to retake the               tii.
 vehicle, hold it, prepare it for sale, and sell it. Reasonable lawyer's fees and legal costs are allowed, too. lf there is any money left       \l.l
 (surplus), it will be paid to you. lf the money from the sale is not enough to pay off this contract and costs, you will pay what is still      ij
                                                                                                                                                 l.¡1
 owed to the Creditor, lf you do not pay this amount when the Creditor asks, the Creditor may charge you interest at the highest lawful          '.)

 rate until you pay.
                                                                                                                                                {i)
 M. Collection Costs: Except as otherwise provided by law, you must pay any and all expenses related to enforcing this contract,                 ID
                                                                                                                                                 (.:_
 including collection expenses, lawyers'fees and other legal expenses.
                                                                                                                                                 ()
 N. Consumer Reports: You authorize the Assignee to obtain consumer credit reports from consumer reporting agencies (credit
 bureaus) for any reason and at any time in connection with this contract.                                                                      !.t:

 O. Servicing and Gollection: You agree that Creditor, Creditor's affiliates, agents and service providers may monitor and record
 telephone calls regarding your account to assure the quality of our service or for other reasons. You also expressly consent and
                                                                                                                                                 "1',
 agree that Creditor, Creditor's affiliates, agents and service providers may use written, electronic or verbal means to contiact you.
 This consent includes, but is not limited to, contact by manual calling methods, prerecorded or artificial voice messages, text                 (':
 messages, emails and/or automatic telephone dialing systems. You agree that Creditor, Creditor's affiliates, agents and service
 providers may use any email address or any telephone number you provide, now or in the future, including a number for a cellular                :r,,
                                                                                                                                                 ..::

 phone or other wireless device, regardless of whether you incur charges as a result,
 P. Applicable Law: You agree that this contract will be governed by the laws of the state of lndiana.                                           l.*r
                                                                                                                                                 ilt
 Q. General: This contract contains the entire agreement between Creditor and you relating to the sale and fìnancing of the motor                t:!
 vehicle. lf any part of this contract is not valid, all other parts stay valid. lf Creditor doesn't enforce Creditor's rights every time,       ;Þ
 Creditor can still enforce them later. Creditor will exercise all of Creditor's rights in a lawful way.                                         E)'
                                                                                                                                                 la'
                                                                                                                                                ii
 lf the last installment payment under this contract is a balloon payment, Assignee has assigned to Ql Exchange, in its capacity as              Àr

 Assignee's qualified intermediary, its rights (but not its obligations) with respect to the purchase and sale of this vehicle.                  Ë
                                                                                                                                                 F¡
Buyer acknowledges and accepts assignment of this contract to the Assignee (and any successor to Assignee), Buyer also consents                  ø
                                                                                                                                                 e,
to any subsequent assignment of this contract, and accepts this provision as notice of any such assignment, by Assignee or anyone
else without further notice to Buyer. This consent and notice specifically includes any assignment of the security interest in the
                                                                                                                                                 liì)
                                                                                                                                                 lf)
vehicle financed pursuant to this contract.
R. Electronic Records and Signatures and Conversion to Paper: You agree to use electronic records and electronic signatures                      gO
to document this contract. Your electronic signatures will have the same effect as signatures on a paper contract.                              'l,'t
There will be one authoritative copy of th¡s contract. lt will be the electronic copy in a document management system the Creditor                q
designates for storing it.                                                                                                                       (}
The Creditor may convert that authoritative copy to a paper original. The Creditor will do so by printing one paper copy marked                  (i)
"Original," This paper original will have your electronic signature on it. lt will have the same effect as if you had signed it originally on    z
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paper.
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                         READ THIS ARBITRATION PROVISION CAREFULLY AND IN ITS ENTIREW
                                                                ARBITRATION
 Arbitration is a method of resolving any claim, dispute, or controversy (collectively, a "Claim") without filing a lawsuit in court. Either
 you or Creditor ("us" or "we") (each, a "Party") may choose at any time, including after a lawsuit is filed, to have any Claim related to
 this contract decided by arbitration. Neither party waives the right to arbitrate by first filing suit in a court of law. Claims include but are
 not limited to the following: 1) Claims in contract, tort, regulatory or otherwise; 2) Claims regarding the interpretation, scope, or validity
 of this provision, or arbitrability of any issue except for class certification; 3) Claims between you and us, your/our employees, agents,
 successors, assigns, subsidiaries, or affiliates; 4) Claims arising out of or relating to your application for credit, this contract, or any
 resulting transaction or relationship, including that with the dealer, or any such relationship with third parties who do not sign this
 contract.
 RIGHTS YOU AND WE AGREE TO GIVE UP
 lf either you or we choose to arbitrate a Claim, then you and we agree to waive the following rights:
      .        RIGHT TO A TRIAL, WHETHER BY A JUDGE OR JURY
      .        RIGHT TO PARTICIPATE AS A CLASS REPRESENTATIVE OR A CI-ASS MEMBER lN ANY
               CLASS CLAIM YOU MAY HAVE AGAINST US WHETHER IN COURT OR IN ARBITRATION
      o        BROAD RIGHTS TO DISCOVERY AS ARE AVAILABLE lN A LAWSUIT
      .        RIGHT TO APPEAL THE DECISION OF AN ARBITRATOR
      .        OTHER RIGHTS THAT ARE AVAILABLE lN A LAWSUIT
RIGHTS YOU AND WE DO NOT GIVE UP: lf a Claim is arbitrated, you and we will continue to have the following rights, without
waiving this arbitration provision as to any Claim: 1) Right to file bankruptcy in court; 2) Right to enforce the security interest in the
vehicle, whether by repossession or through a court of law; 3) Right to take legal action to enforce the arbitrator's decision; 4) Right to
request that a cour.t of law review whether the arbitrator exceeded its authority; and (5) Right to seek remedies in small claims court for
disputes or claims within that court's jurisdiction.
You or we may choose the American Arbitration Association, 1-800-778-7879 (www.adr.org), or any other organization subject to our
approval, to conduct the arbitration. The applicable rules (the "Rules") may be obtained from the selected organization. lf there is a
conflict between the Rules and this contract, th¡s contract shall govern. This contract is subject to the Federal Arbitration Act (9 U.S.C.
g 1 et seq.). The arbitration decision shall be in writing with a supporting opinion. Judgment upon the award rendered by the arbitrator
may be entered in any court having jurisdiction. To the extent that the total of your filing, administration, service or case management
fee and your arbitrator or hearing fee exceeds $200, we will pay the amount in excess of $200, unless you choose to pay one-half of
the total or unless the fees are reallocated in the award under applicable law or the organization's rules.
Each party shall be responsible for its own attorney, expert and other fees, unless awarded by the arbitrator under applicable law. Any
portion of this arbitration provision that is unenforceable shall be severed, and the remaining provisions shall be enforced. lf a waiver of
class action rights is deemed or found to be unenforceable for any reason in a case in which class action allegations have been made,
the remainder of this arbitration provision shall be unenforceable, The validity and scope of the waiver of class action rights shall be
decided by the court and not by the arbitrator.

 YOU ACKNOWLEDGE THAT YOU HAVE READ AND AGREE TO BE BOUND BY THE
 ARBITRATION PROVISION IN THIS CONTR.ACT.
 Any change in this contract must be in writing and s¡gned by you and the Greditor.

   Buyer Eçft)                                                        Co-Buyer           E                     N/A
   Signs                                                              Signs


  NOTICE      . ANY HOLDER OF THIS CONSUMER                         CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND
  DEFENSES WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERV¡CES
  OBTAINED PURSUANT HERETO OR WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE
  DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER.*
  Used Motor Vehicle Buyers Guide. lf you are buying a used vehicle with this contract, federal regulations may
  require a special Buyers Guide to be displayed on the window of the vehicle.
  THE ¡NFORMATION YOU SEE ON THE WINDOW FORM FOR THIS VEHICLE IS PART OF THIS CONTRACT.
  INFORMATION ON THE WINDOW FORM OVERRTDES ANY CONTRARY PROVISIONS IN THE CONTRACT
  OF SALE.
  Spanish Translation: Guia para compradors de vehiculos usados. LA INFORMACION QUE APARECE EN
  LA VENTANILLA DE ESTE VEHICULO FORMA PARTE DE ESTE CONTRATO. LA INFORMACION
  CONTENIDA EN EL FORMULARIO DE LA VENTANILLA ANULA CUALQUIER PREVISION QUE
  ESTABLEZCA LO CONTRARIO Y QUE APAREZCA EN EL CONTRATO DE VENTA.
 *Does not apply if purchased for commercial or agricultural use. ln that case, you (debtor) will not assert against any assignee or subsequent
 holder of this Contract any claims, defenses, or setoffs which you may have against the Seller or manufacturer of the vehicle.
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  The Annual Percentage Rate may be negot¡ated with the Seller. The Seller may ass¡gn this
  contract and may retain its right to receive a portion of the Finance Charge.


  Do not sign this contract before you read it or if it contains any blank spaces. You are
  entitled to an exact copy of the contract that you sign.

  Buyer (and Co-Buyer) acknowledge that (i) before electronically signing this contract, Buyer
  (and Co-Buyer) received and reviewed a true and completely filled in paper copy of this
  contract and (ii) at the time of electronically signing this contract, Buyer (and Co-Buyer)
  received a true and completely filled in paper copy of this contract.


    F                                                                  F                           N/A
      'IM Signs
     Buyer                                                              Go-Buyer Signs

  Seller ANDY MOHR FORD       INC.
                                                      Bv G <-d                                        Title   F¡nance Manager


  THIS CONTRACT IS NOT VALID UNTIL YOU AND SELLER SIGN IT.
                                                              GUARANTY
  To cause the Seller to sell the vehicle described in this contract to the Buyer on credit, each person who signs below as a
  "Guarantor" guarantees the payment of this contract, This means that if the Buyer fails to pay any money that is owed on this
  contract, each person who signs as a guarantor will pay it when asked. Each Guarantor who signs below agrees that he will be
  liable for the whole amount owed even if one or more other persons also signs this Guaranty. Each Guarantor also agrees to be
  liable even if the Creditor does one or more of the following: (a) gives the Buyer more time to pay one or more payments, or (b)
  gives a release in full or in part to any of the other Guaranlors, or (c) releases any security. Each Guarantor also states that he has
  received a completed paper copy of this contract and this Guaranty at the time of electronically signing.



  Guarantor                     N/A                               Address                              N/A


  Guarantor                     N/A                               Address                              N/A




    ller will assign this contract electronically fe Ford Motor Credit Company   LLC ("Assignee").   That Assignee will then have all
     Se|ter'srights,privileges,andremedies-TocontactAssigneeaboutthiscontract,ca|l%'or
      their website at www.fordcredit.com


   SeIIer ANDY MOHR FORD INC,                          By                                               Title Finance Manager




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                                               Customer Completed Co
    Case 16-06205-JMC-7                             Doc 9-1             Filed 08/26/16                  EOD 08/26/16 10:30:53                            Pg 8 of 8



                                                    STATE OF INDIANA
                                             CERTIFICATE OF TITLE FOR A VEHICLE
                    MAKE                                   MODEL      NÂl'lE                          YEAR                                      VIN
                    ËORD                                      ESCAPE                                  2015                       1   FMCUOFTOFUAT6l 91
                TITLE TYPE                          FORMERTITLE/STATE                        PURCHASEDATE                                 BODY TYPE
                 NORMAL                                c oF o/tN                                11128114                                        4W

                                                                                                                USAGE TAX PATD                          ISSUE OATE
                       owNER(S) HAME                                                                                       $1,123.78                    12108t14

STEPHEN R PFEIFËR                                                                                                              oooHETcR/BRAND
11649 SOLOMONS CT                                                                                                         00001o/AcTUAL
FTSHERS rN 460374220


                    MAILING ADDRESS                                                                                                       BRAND(S)

FORD MOTOR CREDIT CO
PO BOX 105704
ATLANTA GA 303485704




                                                                                            SECONO LIENHOLDER




ADDITIONA! OWNER(S)                                                                        LIEN RELEASED BYI

                                                                                             x

                                                                                           PRINTED        NAME¡                        POSITION:




FIRST LTENHOLDER                                                                           THIRD LIEHHOLDER
FORD MOTOR CREDIT CO
PO BOX 105704
ATLANTA GA 303485704
LIEN RELEASED BY:                                                                          tIEl,¡ RELEASED BY:

X                                                                                           x

ÞR,TNTED NAME:                          POSITION                                           PRIT{TEO NAMEI                              POSTTION¡

DÂTE:                                                                                      DATE




    The Comñ¡ssloncr of the Dure¡u of üotor Vêhiclos, pursuànt tO thè lårrs of the Slôle of lñdiôn0, certitieg thàt the veh¡de,/lvðtê/cralt h¡s been duly litled.and the
    owner of the descr¡bed veh¡cle/w6tercratÌ ìs subJect to the llens s€l forth.


                                                  INDIANA BUREAU OF MOTOR VEHICLES
                                                      Donald M. Snemls, Commiss¡oner ' ,\
                                                                                                                                r':.
    Fó76óI83
